Case 1:22-cr-00022-HYJ ECF No. 16, PageID.23 Filed 03/03/22 Page 1 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.24 Filed 03/03/22 Page 2 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.25 Filed 03/03/22 Page 3 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.26 Filed 03/03/22 Page 4 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.27 Filed 03/03/22 Page 5 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.28 Filed 03/03/22 Page 6 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.29 Filed 03/03/22 Page 7 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.30 Filed 03/03/22 Page 8 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.31 Filed 03/03/22 Page 9 of 10
Case 1:22-cr-00022-HYJ ECF No. 16, PageID.32 Filed 03/03/22 Page 10 of 10
